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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/

                   GOVERNMENT’S RESPONSE IN OPPOSITION TO
              DEFENDANTS’ MOTION FOR ADJOURNMENT OF TRIAL DATE

          With the trial date more than seven months away, the defendants have moved the Court to

   continue the trial for an additional seven months, to a date shortly after the November 2024

   election. This Court already rejected that position once, less than three months ago, in an Order

   setting trial for May 2024. ECF No. 83. By appending a motion to continue trial to his recent

   reply on a motion to adjust the schedule under the Classified Information Procedures Act

   (“CIPA”), defendant Donald J. Trump confirmed that his CIPA scheduling motion was but a

   precursor to a motion to continue the trial date.1

          As set forth below, the Government has provided the defendants extensive, prompt, and

   well-organized unclassified discovery, yielding an exhaustive roadmap of proof of the detailed



   1
          The Government submits this response to Trump’s motion to continue the trial date, which
   he included for the first time in his Reply in support of his motion regarding the interim CIPA
   deadlines. ECF No. 167. Co-defendants Nauta and De Oliveira have joined his motion to
   continue.


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   allegations in the superseding indictment. The vast majority of classified discovery is also

   available to the defendants. For a small fraction of the discovery that is among the most highly

   classified material, certain enhanced security protocols have raised additional obstacles to full

   access. As to those materials, the Classified Information Security Officer (“CISO”) has advised

   the Government that he expects even those materials to be available for review and discussion by

   cleared counsel this week. None of the issues raised in the defendants’ motion warrants the

   continuance they request.

   I.     Defendants’ Claims About Unclassified Discovery Are Inaccurate and Do Not Justify
          a Trial Adjournment

          In their motion to continue, the defendants have repeatedly distorted the comprehensive,

   organized, and timely unclassified discovery that the Government has produced, in service of an

   attack on the promptness and thoroughness of the productions and an allegation that the

   Government is in “ongoing non-compliance.” ECF No. 167 at 1. The facts prove otherwise.

          The facts are that on June 21, 2023, eight days after Trump was arraigned, the Government

   produced to him some 800,000 pages of unclassified discovery, including, among other material,

   identification of approximately 4,500 pages of key documents; all grand jury testimony to date;

   witness statements through May 12, 2023;2 evidence obtained through search warrants and

   subpoenas; search warrants and applications; and CCTV footage from Mar-a-Lago obtained prior

   to May 2023 with key footage identified. The Government would have simultaneously made the

   same production to defendant Waltine Nauta, but his counsel was not yet admitted. The day that

   happened, July 6, the Government made its first production to Nauta.


   2
          The Government is producing all witness statements, regardless of whether the
   Government intends to call the witnesses at trial. That is what Government counsel meant when
   advising the Court that it would produce such statements “even if they would not be deemed
   discoverable under 18 U.S.C. § 3500.” See ECF No. 167 at 5.


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          On July 17, the Government produced its second unclassified production to Trump and

   Nauta, consisting of some 300,000 pages, including among other things witness statements

   between May 12 and June 23, 2023, and relevant content from three electronic devices. On July

   31, the Government made its third production to Trump and Nauta, consisting of approximately

   7,000 pages, including witness memorialization and grand jury transcripts resulting from the

   superseding indictment, as well as the remainder of the CCTV footage. As for defendant Carlos

   De Oliveira, the Government produced the same three productions to him on August 11, the day

   after he was arraigned. With the Government’s latest production of unclassified discovery on

   October 6—more than seven months before trial—it has produced all unclassified discovery of

   which it is aware, aside from certain agents’ communications—specifically, emails and text

   messages—that could constitute Jencks material at trial.

          The claim that the Government has produced an additional 23% of discovery materials

   since the July 21 scheduling order is misleading.      Of the 166,554 pages of materials the

   Government has produced since July 21, 134,974 pages are from the final review of Nauta’s two

   phones. As the Government indicated at the July 18 hearing, a substantial amount of material from

   the phones was in the Government’s first production, but technical issues prevented a complete

   review of the phones. See July 18, 2023, Transcript of Hearing (“July 18 Tr.”) at 64-65. The

   Government already had disclosed in its first production approximately 93,561 pages from Nauta’s

   iCloud account, which included material from his phones. In other words, much of the post-July

   21 documentary production is likely duplicative of what the defendants already received.

          As in any case, there is likely to be some additional discovery in the months leading up to

   trial. For example, the Government may interview additional witnesses; the Court’s resolution of

   an impending CIPA Section 4 motion should result in additional classified discovery; and the




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   defendants’ own discovery requests could generate additional materials. But none of these

   circumstances is unusual, and none justifies delaying trial.

          The Government has endeavored to assist the defense’s review of these productions by

   categorizing materials logically, explaining the productions’ content and organization through

   informative cover letters, and curating “key” documents and videos. And as noted above, reports,

   transcripts, and recordings of interviews with potential witnesses—essentially, the blueprint of the

   Government’s case-in-chief—have been made available within days of arraignment for all

   defendants, even though the Court’s scheduling order authorizes the Government to delay

   production of such materials until just before trial. ECF No. 28 ¶ 13.

          The Government’s production of unclassified discovery has been prompt, comprehensive,

   thorough, and organized. The defense has complete access to it today, more than seven months

   before trial. In no way does the Government’s record of unclassified discovery production in this

   case support a continuance.

   II.    The Defendants’ Allegations Regarding Classified Discovery, Including Their Ability
          to Access it, Are Also Inaccurate and Do Not Justify a Trial Adjournment

          For the Section 793 counts, Trump is of course entitled to classified discovery in order to

   test or challenge the Government’s proof of the elemental allegation in the indictment that the

   documents he retained at the Mar-a-Lago Club contained national defense information. But the

   fact is that the great majority of the allegations in the indictment—including allegations of the

   defendants’ conduct, knowledge, and intent—turn on evidence contained in the unclassified

   discovery, not the much smaller set of classified discovery. That the classified materials at issue

   in this case were taken from the White House and retained at Mar-a-Lago is not in dispute; what

   is in dispute is how that occurred, why it occurred, what Trump knew, and what Trump intended

   in retaining them—all issues that the Government will prove at trial primarily with unclassified



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   evidence. Whether the highly classified documents Trump retained at Mar-a-Lago contain

   national defense information is a fact Trump can try to dispute, but it will hardly be the centerpiece

   of the trial. Regardless, as discussed below, none of the defendants’ claims about the availability

   of classified discovery justifies a continuance.

          The defendants make numerous allegations regarding their access to classified discovery

   arising from the status of secure facilities, their clearances, and other considerations. Most of the

   allegations are inaccurate or incomplete; collectively they are misleading. The fact is that since

   the entry of the protective orders on September 13, cleared counsel has had access to considerable

   classified discovery; and as of last Friday, October 6, the Government has made available all of

   the classified discovery of which it is aware, except for discovery subject to proceedings under

   CIPA Section 4. While a small portion of the classified discovery is subject to issues related to

   where it may be stored, discussed, and reviewed, the Government expects those issues to be

   resolved shortly.

          A.      Clearances

          The defendants paint a misleading portrait of defense counsel’s clearances—security

   clearances do not pose any impediment to diligent defense counsel. In footnote 2 of their motion

   the defendants state that Mr. Kise “has not yet been cleared fully to review all of the CIPA

   materials,” and that because of that fact and his duties representing Trump in another trial, he has

   “had no opportunity to review any of the CIPA materials.” ECF No. 167 at 2 n.2. Mr. Kise

   received an interim security clearance in late July, which authorized him to review about 2,100

   pages of classified discovery the moment they were produced on September 13--the same day the

   protective orders issued. ECF Nos. 150, 151, 152. These materials included 16 of 31 charged

   documents and about 600 pages of classified interview transcripts, among other materials. So,




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   although it is true that as of their filing Mr. Kise had not been “cleared fully,” it is inaccurate to

   suggest that that fact at all explains his failure to review “any of the CIPA materials.” This leaves

   only one of the proffered explanations for Mr. Kise’s alleged inability to review “any of the CIPA

   materials” as the possibly accurate one—Mr. Kise’s competing obligations in the New York trial.

   But those obligations were aired at the July 18 scheduling hearing, July 18 Tr. at 35, 43, and the

   Court has already taken them into account in setting trial in May. As a result, there is no basis for

   the further suggestion in the footnote that “the Government’s delayed discovery process” somehow

   has denied Trump Mr. Kise’s assistance in a way that justifies a continuance.

          Moreover, the point ignores that the remainder of Trump’s team (four lawyers and a legal

   analyst) have final clearances. In other words, all counsel for Trump save Mr. Kise have been

   approved for the clearances necessary to review all the charged documents in this case, as has one

   counsel for De Oliveira.      Some counsel may require additional read-ins to review certain

   compartmentalized information, but those read-ins have been approved and can be provided

   anytime the defense arranges with the CISO. With respect to Nauta, the CISO has informed the

   SCO that one defense counsel is expected to be approved for full clearance this week.

          B.      Documents Requiring Special Measures

          As noted above, a small collection of highly sensitive and classified materials that Trump

   retained at the Mar-a-Lago Club are so sensitive that they require special measures (the “special

   measures documents”), including enhanced security protocols for their transport, review,

   discussion, and storage. The special measures documents constitute a tiny subset of the total array

   of classified documents involved, which is itself a small subset of the total discovery produced.

   From the outset of this case, the SCO and the CISO have been aware of some of the special




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   measures documents, but only recently, the SCO and the CISO learned that others—still

   constituting a small fraction of the overall discovery—fall into that category as well.

          C.      Secure Facilities

          Next, the defendants unfairly criticize the SCO for “failing to establish appropriate

   facilities in this District before bringing this case.” ECF No. 167 at 2. To begin, the SCO does

   not have the authority to decide when and where secure facilities for the storage of classified

   information are established. The CISO, who serves not at the behest of the prosecutors, but rather

   “in a neutral capacity,” oversees that process. See Revised Security Procedures Established

   Pursuant to Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for the

   Protection of Classified Information, ¶ 3. Under the security procedures established by the Chief

   Justice, the CISO is charged with

          mak[ing] necessary arrangements to ensure that the security requirements of the
          Executive Branch applicable to the level and category of classified information
          involved are met and must conduct or arrange for such inspection of the secure
          location as may be necessary. The classified information security officer must, in
          consultation with the United States Marshal, arrange for the installation of security
          devices and take such other measures as may be necessary to protect against any
          unauthorized access to or disclosure of classified information.

   Id.

          To be sure, the extreme sensitivity of the special measures documents that Trump illegally

   retained at Mar-a-Lago presents logistical issues unique to this case.         But the defendants’

   allegations that those logistical impediments are the fault of the SCO are wrong. The defendants’

   claim that the SCO has failed “to timely remedy the situation,” ECF No. 167 at 2, or “to make very

   basic arrangements in this District,” id. at 4, proceeds from the false premise that the SCO controls

   the situation—it does not. Nonetheless, the SCO has also offered to—and did—make a facility




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   available to the defense in Washington, D.C., that can accommodate the review and discussion of

   all the discovery in this case, including the special measures documents.

          With respect to the Miramar facility, the defendants note that classified documents have

   not been transported there and state that the location “has not yet been approved for review and

   storage” of classified material. ECF No. 167 at 3. That is inaccurate. The CISO has informed the

   SCO that Miramar can accommodate the review and discussion of all material, and can store all

   classified discovery except for the special measures documents. The defendants claim that this

   situation, coupled with the defense to this point having access only to “a small, temporary facility

   in Miami,” has delayed Trump’s personal review of classified discovery. Id. But the SCO is not

   aware of any request by Trump to personally appear in Miramar to inspect any documents—a

   request upon which the necessary arrangements to do so can and will be made. And whatever

   delay there has been to date in Trump’s personal review of the classified materials, the seven

   months that remain before trial is more than ample time for him to do so.

          In any event, the CISO has informed the SCO that by the end of this week, he expects that

   there will be SCIFs within the District available to defense counsel for review and discussion of

   all classified discovery in this case, including the special measures documents.3 Additionally, the

   SCO has been informed that each of those SCIFs can store all classified discovery except for the

   special measures documents—and with respect to those materials, the CISO is working diligently

   on a solution. Pending that solution and with appropriate notice, those documents can be couriered

   by qualified control officers from the Intelligence Community to a SCIF in south Florida for

   defense inspection. And contrary to the defendants’ allegation that the SCO “faces no such issues,”




   3
           The Government will not disclose in this public filing the precise locations of these SCIFs,
   but the CISO has undoubtedly informed the Court of them.


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   ECF No. 167 at 4, it too must follow this procedure. Currently, the SCO’s SCIF cannot

   accommodate storage of the special measures documents. Like the defense, to review those

   materials, SCO personnel must either arrange for them to be couriered to the office or travel to an

   approved storage location.

           The defendants also suggest that they lack access to an approved computer with which to

   prepare classified discovery requests and pleadings. ECF No. 167 at 6. That too is misleading,

   because it is only true with respect to the small subset of special measures documents. Since the

   protective orders issued on September 13, the defense has had access to a classified laptop

   sufficient to address all the remaining classified discovery. For example, as the Court is aware,

   the defense was able to prepare and file a classified supplement. There is no reason why the

   defense could not prepare discovery requests related to the materials it has thus far reviewed. As

   for the special measures documents, the CISO is working with the Intelligence Community to

   establish approval for the defense’s electronic processing of such documents and expects a solution

   soon.

           The defendants further argue that the lack of SCIF space at the courthouse in Ft. Pierce and

   the anticipated three-month period before secure facilities are constructed further require a

   continuance. Id. at 3. But that was the situation facing the Court when it scheduled the trial for

   May 2024, and the only change since then is that the hoped-for construction project is now a

   reality. The defendants’ other argument—that the Court lacks the ability to hold classified

   hearings—is an overstatement. CISOs routinely take measures to make a courtroom or a judge’s

   chambers a temporary secure location suitable to hold a classified hearing, and the CISO has

   informed the SCO that he can do so here for any hearings not involving the special measures




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   documents. And even for a hearing involving those, there will soon be alternative venues in the

   District that could accommodate one at the Court’s discretion.

           The defendants’ allegations regarding clearances and secure facilities vastly overstate the

   impact on their access to classified discovery and their ability to prepare for trial, and do not justify

   a continuance.

   III.    Defendants’ Discussion of PSRs Is Wrong and Does Not Justify a Trial Adjournment

           The defendants wrongly claim that everything must come to a halt until the Government

   advises “whether and to what extent,” ECF No. 167 at 7, it has sent out Prudential Search Requests

   (“PSRs”)—a name for the mechanism by which the Government seeks potentially discoverable

   information that may exist in the files of agencies beyond the prosecution team. To begin with,

   none of the defendants’ suggestions about PSRs is accurate as a legal matter. The Government is

   not required to conduct prudential searches or disclose to the defense “whether and to what extent”

   it did. The cases cited in support of that proposition—United States v. Saab Moran, No. 29-20450-

   CR, 2022 WL 4291417 (S.D. Fla. Sep. 15, 2022) and United States v. John Doe 2, No. 98-00721-

   CR, 2009 WL 10720338 (S.D. Fla. Oct. 23, 2009)—involve situations where the prosecutors

   conducted prudential searches and elected to disclose what they did. That does not amount to an

   obligation, and neither case suggests, much less holds, otherwise.4

           In any event, the Government here has made appropriate prudential search requests and

   produced discoverable materials it received as a result. That will be evident to the defense when



   4
           The Government’s process in this case is fully consistent with the Justice Manual
   provisions to which the defendants refer, ECF No. 167 at 7-8, and, in any event, the Justice Manual
   “is not intended to, does not, and may not be relied upon to create any rights, substantive or
   procedural, enforceable at law by any party in any matter civil or criminal.” Justice Manual § 1-
   1.200. The internal protocols confer the defendants no rights, much less a right to dictate how
   discovery is collected. See United States v. Caceres, 440 U.S. 741 (1979).


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   it reviews the classified discovery letter the Government provided the CISO on October 6. The

   defendants’ claim that prudential searches are required “under the circumstances of this case,”

   ECF No. 167 at 8, and their predictable demand in reply to this pleading that the Government

   disclose to whom the PSRs were made and for what, is no more than the defendants’ speculation

   that discovery is available that the Government did not and will not collect. The law does not

   provide for such second-guessing, as one of the cases cited by the defendants makes clear. See

   John Doe 2, 2009 WL 10720338, at *5 (“Brady does not require the Government to submit an

   affidavit or otherwise verify what efforts were undertaken to locate documents requested by the

   defense. Typically, the Government shoulders the burden of determining which information must

   be disclosed under Brady.”) (citing United States v. Jordan, 316 F.3d 1215, 1252 n.81 (11th Cir.

   2003)). The defendants’ sinister suggestion—that there is a bastion of discoverable material within

   the Intelligence Community that the Government is purposely disregarding—is untrue. Their

   review of the Government’s latest production of classified discovery will confirm as much.

          Moreover, the defendants’ arguments on this score distort the ordinary process for

   discovery and the schedule established by the Court, which contemplate the defense propounding

   to the Government specific discovery requests. Depending on the validity of those requests, they

   may or may not trigger additional searches and the production of additional material. Notably, the

   defense has made no such request to this point, despite the deadline for motions to compel being

   barely more than one week away, on October 20. ECF No. 83.

   III.   Conclusion

          The defendants provide no credible justification to postpone a trial that is still seven months

   away. They are fully informed about the charges and the theory of the Government’s case from a

   highly detailed superseding indictment and comprehensive, organized unclassified and classified




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   discovery. Their unfounded claims of Government noncompliance with discovery obligations do

   not support their request. Their claims about their inability to review classified information are

   distorted and exaggerated, and, in any event, the Government expects that the CISO will resolve

   any remaining issues this week. There is no reason to adjourn the trial date. The defendants’

   motion should be denied.

                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel

                                        By:     /s/ Jay I. Bratt
                                                Jay I. Bratt
                                                Counselor to the Special Counsel
                                                Special Bar ID #A5502946
                                                950 Pennsylvania Avenue, N.W.
                                                Washington, D.C. 20530

                                                Julie A. Edelstein
                                                Senior Assistant Special Counsel
                                                Special Bar ID #A5502949

                                                David V. Harbach, II
                                                Assistant Special Counsel
                                                Special Bar ID #A5503068




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                                   CERTIFICATE OF SERVICE

         I, Jay I. Bratt, certify that on October 9, 2023, I electronically filed the foregoing document

   with the Clerk of Court using CM/ECF.

                                                        /s/ Jay I. Bratt
                                                        Jay I. Bratt




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